Case 08-14631-GMB          Doc 222     Filed 04/26/08 Entered 04/26/08 14:10:00                  Desc Main
                                      Document     Page 1 of 6



    LECLAIRRYAN
    A Virginia Professional Corporation
    David W. Phillips, Esq. (DP2099)
    Two Penn Plaza East
    Newark, New Jersey 07105
    Telephone: (973) 491-3600
    Facsimile: (973) 491-3555

    Counsel for De Lage Landen Financial Services, Inc.


                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY


    In re:                                                    :        Chapter 11
                                                              :
    SHAPES/ARCH HOLDINGS, LLC, et al.,                        :        Case No. 08-14631 (GMB)
                                                              :        (Jointly Administered)
             Debtors.                                         :
                                                              :


       LIMITED OBJECTION TO INTERIM ORDERS AND ENTRY OF FINAL
      ORDERS PURSUANT TO SECTION 364(c) OF THE BANKRUPTCY CODE
    AND RULE 4001 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
    AUTHORIZING DEBTORS (1) TO OBTAIN POST-PETITION FINANCING, (2)
     GRANTING SENIOR LIENS AND PRIORITY ADMINISTRATIVE EXPENSE
    STATUS, (3) MODIFYING THE AUTOMATIC STAY, AND (4) AUTHORIZING
           DEBTORS TO ENTER INTO AGREEMENTS WITH THE CIT
     GROUP/BUSINESS CREDIT, INC. AND WITH ARCUS ASI FUNDING, LLC

             De Lage Landen Financial Services, Inc. (“De Lage Landen”), by and through its

    counsel, for its limited objection to the Interim Orders and entry of Final Orders pursuant

    to Section 364(c) of the Bankruptcy Code and Rule 4001 of the Federal Rules of

    Bankruptcy Procedure authorizing the above-captioned debtors1 (the “Debtors”) to (1)

    obtain post-petition financing, (2) granting senior liens and priority administrative


    1
     The Debtors consist of Shapes/Arch Holdings LLC (“Shapes/Arch”), and its wholly-owned subsidiaries
    of Shapes/Arch, Shapes, LLC (“Shapes”); DeLair LLC (“DeLair”), Accu-Weld LLC (“Accu-Weld”), and
    Ultra LLC (“Ultra”).
Case 08-14631-GMB       Doc 222     Filed 04/26/08 Entered 04/26/08 14:10:00           Desc Main
                                   Document     Page 2 of 6



    expense status, (3) modifying the automatic stay, and (4) authorizing the Debtors to enter

    into agreements with the CIT Group/Business Credit, Inc. (“CIT”) and with Arcus ASI

    Funding, LLC (“Arcus”), respectfully states as follows:

                                          Background

            1.     On March 16, 2008, the Debtors filed their respective voluntary petitions

    for relief under Chapter 11, Title 11 of the United States Code (the “Bankruptcy Code”),

    commencing the captioned cases.

            2.     These cases are being jointly administered pursuant to the Court’s Order

    of March 18, 2008 under the lead debtor “Shapes/Arch Holdings, LLC”.

            3.     The Debtors are operating their businesses and managing their properties

    as debtors-in-possession pursuant to 11 U.S.C. § 1107(a) and § 1108.

            4.     No trustee or examiner has been appointed in these cases.

            5.     An official committee of unsecured creditors was appointed on March 31,

    2008.

            6.     The Court has jurisdiction over this objection pursuant to 28 U.S.C. §

    1334. Venue is proper pursuant to 28 U.S.C. § 1408 and § 1409. This is a core

    proceeding at that term is defined in 28 U.S.C. § 157(b).

                                     Preliminary Statement

            7.     Prior to the commencement of the Debtors’ cases, De Lage Landen

    entered into a number of lease agreements (collectively, the “Lease Agreements”) with

    Shapes and DeLair. Some or all of these lease agreements should or may be properly

    characterized not as leases but as secured transactions in which the respective Debtor

    granted a security interest in the respective equipment that is the subject of the lease




                                                2
Case 08-14631-GMB        Doc 222     Filed 04/26/08 Entered 04/26/08 14:10:00           Desc Main
                                    Document     Page 3 of 6



    agreement. In each instance, De Lage Landen properly perfected its security interest in

    the subject equipment by the filing of a financing statement with the State Corporation

    Commission of the appropriate state. The Debtors have not listed any secured

    indebtedness to De Lage Landen in their respective schedules filed with the Court and

    have not included any secured indebtedness on any schedule of Permitted Encumbrances

    in their agreements for post-petition financing with Arcus and CIT. To the extent that

    there is property of the Debtors that is subject to the lien of De Lage Landen, the Court’s

    grant of a superior lien on De Lage Landen’s interest in such property is not permitted

    unless and until there is adequate protection of De Lage Landen’s interest in the property

    on which it has a pre-petition first priority properly-perfected lien.

                       De Lage Landen’s Lease Agreements with Shapes

           8.      Shapes entered into sixteen (16) leases of equipment with De Lage Landen

    that were issued under a Master Lease Agreement (collectively, the “Shapes Leases”). A

    summary of the Shapes Leases is attached hereto as Exhibit A. A copy of the Master

    Lease Agreement and each Master Lease Schedule is collectively attached hereto as

    Exhibit B. A copy of the financing statements filed with the New Jersey Secretary of

    State is attached hereto as Exhibit C.

           9.      De Lage Landen believes and asserts that the Shapes Leases with a Fair

    Market Value purchase option at the end of the term of the lease are true leases of the

    equipment and that the Shapes Leases with a $1.00 purchase option at the end of the term

    of the lease create security interests in the equipment to secure the repayment of those

    leases. See Pillowtex, Inc. v. Duke Energy Royal, LLC (In re Pillowtex), 349 F.3d 711,

    717-18 (3d Cir. 2003).




                                                  3
Case 08-14631-GMB              Doc 222       Filed 04/26/08 Entered 04/26/08 14:10:00          Desc Main
                                            Document     Page 4 of 6



               10.      To the extent that De Lage Landen’s assertions are correct and/or the

    Court determines that one or more of the Shapes Leases are not true leases but create

    security interests in the subject equipment, De Lage Landen has a first priority properly-

    perfected security interest in Shapes’ property listed in Exhibit A.

               11.      To the extent that the Shapes Leases are true leases, then Shapes has no

    property interest, other than a right of possession under the terms of the respective true

    lease, in the equipment that is the subject of the respective true leases.

                            De Lage Landen’s Lease Agreements with DeLair

               12.      DeLair Shapes entered into four (4) leases of equipment with De Lage

    Landen (collectively, the “DeLair Leases”). A summary of the DeLair Leases is attached

    hereto as Exhibit D. A copy of each DeLair Lease is collectively attached hereto as

    Exhibit E. A copy of the financing statement was filed with the State of Delaware State

    Corporation Commission is attached hereto as Exhibit F.2

               13.      De Lage Landen believes and asserts that the DeLair Leases with a Fair

    Market Value purchase option at the end of the term of the lease are true leases of the

    equipment and that the DeLair Leases with a $1.00 purchase option at the end of the term

    of the lease create security interests in the equipment to secure the repayment of those

    leases.

               14.      To the extent that De Lage Landen’s assertions are correct and/or the

    Court determines that one or more of the DeLair Leases are not true leases but create

    security interests in the subject equipment, De Lage Landen has a first priority properly-

    perfected security interest in the DeLair’s property listed in Exhibit D.



    2
        De Lage Landen asserts that the State of Delaware is the state of origin for DeLair.


                                                            4
Case 08-14631-GMB        Doc 222     Filed 04/26/08 Entered 04/26/08 14:10:00             Desc Main
                                    Document     Page 5 of 6



           15.     To the extent that the DeLair Leases are true leases, then DeLair has no

    property interest, other than a right of possession under the terms of the respective true

    lease, in the equipment that is the subject of the respective true leases.

         DeLage Landen’s Objection to the Interim Order and Entry of Final Order

           16.     Section 364(d)(1) of the Bankruptcy Code permits the Court to authorize

    the Debtors to obtain credit secured by property of the estate that is subject to a lien only

    if there is adequate protection of the interest of the holder of the lien on the property of

    the estate on which such senior lien is proposed to be granted.

           17.     DeLage Landen holds a pre-petition, first priority security interest in the

    property of Shapes and DeLair listed on Exhibit A and Exhibit D (collectively, the

    “Equipment”), respectively, to the extent the Shapes Leases and/or the DeLair Leases are

    not true leases or are determined to not be true leases.

           18.     The Debtors have not offered adequate protection of De Lage Landen’s

    interest in the Equipment, have not indicated whether they assert any interest in the

    Equipment, and have not indicated whether the Interim Order or the proposed Final Order

    is intended to include or exclude some or all of the Equipment from the super-priority

    lien being granted to the DIP Lender.

                                             Conclusion

           WHEREFORE, DeLage Landen, by and through its counsel, respectfully moves

    the Court to enter an Order granting the following relief:

           a.      rescinding the Interim Order’s grant of a super-priority lien as it relates to

    the Equipment;




                                                  5
Case 08-14631-GMB       Doc 222       Filed 04/26/08 Entered 04/26/08 14:10:00        Desc Main
                                     Document     Page 6 of 6



              b.   excluding the Equipment from the property subject to the grant of a super-

    priority lien in any Final Order granting authority to the Debtors to enter into post-

    petition financing with Arcus and/or CIT;

              c.   in the alternative, granting adequate protection to De Lage Landen of its

    interest in the Equipment; and

              d.   granting such other and further relief as the Court determines is just and

    proper.

    Dated: April 26, 2008                 LECLAIRRYAN
                                          A Virginia Professional Corporation
                                          Counsel for De Lage Landen
                                                 Financial Services, Inc.


                                          By:    /s/
                                                 David W. Phillips, Esq. (DP2099)
                                                 Two Penn Plaza East
                                                 Newark, New Jersey 07105
                                                 Telephone: (973) 491-3530
                                                 Facsimile: (973) 491-3555




                                                6
